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                                  UNITED STATES DISTRICT COURT
                                                                  for the
                                                      DistrictDistrict
                                                 __________    of NewofJersey
                                                                         __________
                DANIEL D'AMBLY, et. al,
                                                                      )
                          Plaintiff                                   )
                             v.                                       )     Civil Action No. 2:20-cv-12880-JMV-JSA
                CHRISTIAN EXOO, et. al                                )
                                                                      )
                          Defendant                                   )

                    SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                      OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:       TORCH ANTIFA
           TORCH ANTIFA NETWORK
                        NETWORK
                                                (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:      All communications exchanged between member(s), associate(s), comrade(s), and/or any person(s)
           affiliated with Torch Antifa Network and Christian Exoo a/k/a "AntiFashGordon." See attached Exhibit A for
           instructions and a list of the documents, things, and communications your are to produce.

  Place: The Law Office of Patrick Trainor, Esq., LLC                        Date and Time:
           19 Union Avenue, Suite 201                                                           05/31/2022 9:00 am
           Rutherfordm, NJ 07070

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                     Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:           11
             05/11/2022


                                                                                OR
                                      CLERK OF COURT                                                 s/ Patrick Trainor, Esq.
                                      Signature of Clerk or Deputy Clerk                                Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)   Daniel D'Ambly,
Aaron Wolkind, Steve Hartley, Richard Schwetz, et., al                   , who issues or requests this subpoena, are:
Patrick Trainor, Esq., 19 Union Avenue, Suite 201, Rutherford, NJ 07070; (201) 777-3327; pt@ptesq.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                            .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                  on (date)                            ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                  .

My fees are $                                  for travel and $                       for services, for a total of $          0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

Additional information regarding attempted service, etc.:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                   SUBPOENA FOR DOCUMENTS AND/OR TESTIMONY
                                             EXHIBIT A
  INSTRUCTIONS AND DEFINITIONS
  As used herein, the following definitions apply:

     1. “TORCH ANTIFA NETWORK,” “TORCH” “you,” or “your” means TORCH ANTIFA
        NETWORK, individually and collectively with all of its chapters, affiliates, organizing
        bodies, associations, affinity groups a/k/a “AG’s,” individual members, and any and all
        owners, officers, directors, agents, servants, employees, chapters, associates, affiliates,
        social media followers, friends, organizing bodies, members, participants, donors,
        volunteers, in-house and outside attorneys, accountants, consultants, predecessors in
        interest, corporate parents, affiliates, subsidiaries, and/or all other persons or entities, who
        claim membership, affiliation, or association with TORCH ANTIFA NETWORK.
        TORCH ANTIFA NETWORK and all of its chapters, affiliates, organizing bodies,
        associations, affinity groups a/k/a “AG’s,” individual members are herein sometimes
        collectively referred to as “Members.”

     2. “Defendant” means CHRISTIAN EXOO a/ka Twitter username
        “@ANTIFASHGORDON,” the defendant in D’Ambly v. Exoo, et al., 2:20-cv-12880-
        JMV-JSA (“this action”), and includes Twitter usernames “@DOXSAVAGE,”
        “@CHRISEXOO,” “@CHRISTIANEXOO,” and includes any and all aliases,
        pseudonymous accounts, anonymous accounts, usernames, social media usernames
        sometimes referred to as “Handles,” “profiles,” and/or “hashtags,” websites, email
        addresses, mobile telephone numbers, landline telephone numbers, “sock puppet
        accounts” (a sock puppet is an alternative online identity or username) that CHRISTIAN
        EXOO has used or is currently using, including usernames that include “GILES,” and/or
        with any other person(s), entities, associates, affiliates, friend, or followers that are acting
        on his behalf, and/or that have acted on Defendant's behalf at any point in time since
        January 1, 2015.

     3. “Plaintiffs” means DANIEL D’AMBLY; AARON WOLKIND; STEVE HARTLEY;
         RICHARD SCHWETZ; JOBEL BARBOSA; MATTHEW REIDINGER; JOHN HUGO; SEAN-
         MICHAEL DAVID SCOTT; THOMAS LOUDEN; ZACHARY REHL; AMANDA REHL;
         K.R., a minor, by and through her father ZACHARY REHL and her mother AMANDA REHL,
         MARK ANTHONY TUCCI, the Plaintiffs in this action.

     4. “Dox,” “Doxing,” and/or “to dox” means to search for, acquire, obtain, through any
        means, and to publish the private and/or personal identifying information of another
        person without that person’s consent.



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     5. “Personal identifying information” means any representation of information that permits
        the identity of an individual to whom the information applies to be reasonably inferred by
        either direct or indirect means, including any information that is linked or linkable to that
        individual.

     6. “Dogpiling” or “to dogpile” means a number of people directing comments and/or
        actions at one individual person usually in a coordinated manner, but coordination is not
        required.

     7. “Social Media Platforms” a/k/a “platforms” means Twitter, Facebook, Signal, Wire,
        Facebook, Instagram, MySpace, Snapchat, Tik Tok, YouTube, WhatsApp, WeChat,
        Qzone, Reddit, Facebook Messenger, Sina Weibo, QQ, Kuaishou, Quora, and any and all
        other similar or related platforms not mentioned above.

     8. The term “document” is synonymous in meaning and equal in scope to the usage of the
        term in Federal Rule of Civil Procedure 34(a), including any electronically stored
        information. Drafts and non-identical duplicates constitute separate documents.
        Attachments, exhibits, appendices, schedules, and enclosures to documents are
        considered part of the same document. The production of electronically stored
        information requires production of the “metadata.”

     9. “Communications” means sending, receiving, imparting or exchanging of information,
        data, or news, whether publicly or privately, via, through, with, or by any means,
        including, but not exclusively limited to, messages sent or received on any and all social
        media platforms, over video conferences, Zoom calls, Google Hangouts, Microsoft
        Teams meetings, emails, memorandums, notes, telephone calls, face-to-face meetings,
        facsimile, text messages, online chats, Twitter Tweets, direct messages a/k/a “DM’s,”
        social media messages, comments, “like buttons,” “dislike buttons,” down votes, upvotes,
        and any other form of communication not mentioned herein, including any and all
        communications conveyed to, from, or by third parties. This definition includes and
        encompasses any and all form of communications not specifically mentioned above.

     10. The term “thing” refers to any tangible object other than a document and includes objects
         of every kind and nature, including but not limited to prototypes, models, specimens,
         computer disks and tapes, videotapes, audiotapes, and digital records and recordings.

     11. “Concerning” means constituting, comprising, relating to, referring to, reflecting,
         evidencing, or in any way relevant within the meaning of Federal Rule of Civil Procedure
         26(b)(1).




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     12. “Person” and “persons” means (a) natural persons; (b) legal entities, including
         corporations, partnerships, firms, associations, professional corporations, and
         proprietorships; and (c) governmental bodies or agencies, affinity groups, chapters,
         organizing bodies, autonomous organizing bodies, donors, community aid recipients.

     13. “And” and “or” shall be construed conjunctively or disjunctively as necessary to bring
         within the scope of a Request all responses that might otherwise be construed to be
         outside of its scope.

     14. The past tense includes the present tense, and vice-versa. The singular includes the
         plural, and vice-versa. The male pronoun includes the female pronoun, and vice-versa.

     15. Unless otherwise indicated, the Requests cover the period of January 1, 2013, to the
         Present.

     16. If any document or thing is not produced based on a claim of privilege, or if you contend
         a document or thing is otherwise exempt from discovery, please identify the document by
         providing the following information: (1) name, position, and title of the author; (2) name,
         position, and title of the addressee; (3) purpose for preparing the document; (4) date of
         the document; (5) number of pages, attachments, or appendices; (6) brief description or
         summary of content of the document; (7) all persons to whom distributed, shown, or
         explained; (8) present custodian; and (9) the nature of the privilege or objection asserted.

                         REQUESTS FOR DOCUMENTS AND THINGS

  DOCUMENT REQUEST NO. 1: All documents, things, and communications, concerning the
  names of all Torch Antifa Network members, associates, affiliates, including their real true name
  and identity, their email address(es), social media usernames, mobile (cell) telephone numbers,
  landline telephone numbers, home address(es), business address(es), name of their employers,
  pagers, included in this request is the identification of any and all officers, directors, and/or
  managerial employees and their respective duties, and any and all of their domain names.

  DOCUMENT REQUEST NO. 2: All documents, things, and communications, concerning
  the identity of the owner(s), registrant(s) of internet domain torchantifa.org, and any and all other
  internet domains belonging to Torch Antifa Network or any of its members, including all
  administrative, technical, and billing contact person(s).

  DOCUMENT REQUEST NO. 3: All documents, things, and communications, concerning
  communications exchanged with and between Defendant Christian Exoo and Torch Antifa
  Network and its members, and the incidents and transactions thereto, include the identity of the
  person(s) who sent or received communications with Christian Exoo directly or indirectly, their
  real true name and identity, email address(es), social media usernames, mobile (cell) telephone


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  numbers, landline telephone numbers, home address(es), business address(es), name of their
  employers, domain names, and pager numbers.

  DOCUMENT REQUEST NO. 4: All documents, things, and communications, concerning the
  identity of any and all persons who exchanged communications with Torch Antifa Network or
  any of its members website(s), such as https://www.torchantifa.org, and any and all websites
  associated with or controlled by Torch Antifa Network or its members.

  DOCUMENT REQUEST NO. 5: All documents, things, and communications, with and
  between Defendant Christian Exoo and Torch Antifa Network, and the incidents and transactions
  thereto, concerning Plaintiffs’ doxes, including the identities of any and all persons and/or
  entities who contributed and/or provided information, assistance that lead to the discovery of
  Plaintiffs personal identifying information, and/or any person or entity who participated in the
  search for, and acquisition of Plaintiffs’ personal identifying information. For every person
  and/or entity, who contributed, provided and/or participated in disclosing Plaintiff’s personal
  identifying information provide their real true identity, email address(es), social media
  usernames, mobile (cell) telephone numbers, landline telephone numbers, home address(es),
  business address(es), name of their employers, domain names, and pager numbers.

  DOCUMENT REQUEST NO. 6: All documents, things, and communications, concerning the
  identity of any person(s), individuals, entities, corporations, non-profit organizations, or for-
  profit entities, who have donated money, property, materiel, and/or any item of value to Torch
  Antifa Network or any of its members since January 1, 2017. Include the donors real true
  identity, email address(es), social media usernames, mobile (cell) telephone numbers, landline
  telephone numbers, home address(es), business address(es), name of their employers, and pagers
  numbers, and include the date of the donation, and the total value of the donation.

  DOCUMENT REQUEST NO. 7: All documents, things, and communications, concerning the
  identity of any person(s), individuals, and/or entities that attended any Torch Antifa Network
  Conference, including all annual conferences held since 2013. Include the attendees real true
  identity, their email address(es), social media usernames, mobile (cell) telephone numbers,
  landline telephone numbers, home address(es), business address(es), name of their employers,
  and pagers. Include the year(s) attended.

  DOCUMENT REQUEST NO. 8: All documents, things, and communications, concerning the
  identity of any governmental or non-governmental organization, who directly or indirectly
  contributed information that led to the discovery of Plaintiffs’ personal identifying information,
  and/or provided assistance, or participated in the search for and acquisition of Plaintiffs’ personal
  identifying information. Include the name of the organization, the organization contact
  person(s), the contact person(s) mobile and landline telephone numbers, email address, social
  media username(s), type of assistance or information provided and the date said information was
  provided.


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  DOCUMENT REQUEST NO. 9: All documents, things, and communications, concerning any
  and all acts, sometimes referred to as “direct action” that were directed at any Plaintiff,
  exchanged by and between Torch Antifa Network and Christian Exoo including, but not
  exclusively limited to the following acts and incidents:

     1. On or about January 11, 2019, vandalism and property damage caused to Plaintiff Daniel
        D’Ambly’s vehicle.
     2. On or about November 17, 2018, vandalism and property damage caused to Plaintiff
        Zachary Rehl’s home, including the identity or the person who threw a brick through a
        front window.
     3. ON or about November 17, 2018, violent acts and assault intended to disrupt the “We the
        People” rally organized by Plaintiff Zachary Rehl.
     4. On or about April 15, 2020, vandalism and property damage caused to Plaintiff Sean
        Michael-David Scott’s residence.




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